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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

PENNY MCKEITHEN,                              *
                                              *
                                              *
        Plaintiff,                            *              CASE NO.:
                                              *
vs.                                           *
                                              *
                                              *
WAL-MART STORES EAST, LP                      *
WALMART INC.                                  *
FICTITOUS PARTIES "A" TO "U"                  *
                                              *
        Defendants.                           *


                     WALMART’S ANSWER TO PLAINTIFF’S COMPLAINT

       Defendant WAL-MART STORES EAST, LP, improperly named in the Complaint also

as “WALMART, INC.” (hereinafter “Walmart”) answers Plaintiff’s Complaint as follows, with

each numbered paragraph corresponding to the numbered paragraphs of Plaintiff’s Complaint:

       1.      As this paragraph does not make any allegation against this Defendant, no

response is required.

       2.      Walmart admits that it is a foreign limited partnership who conducts business in

the Mobile County, Alabama. Walmart denies the remaining allegations of this paragraph and

demands strict proof thereof.

       3.      Walmart admits that it is a foreign limited partnership who conducts business in

the Mobile County, Alabama. Walmart denies the remaining allegations of this paragraph and

demands strict proof thereof.
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                                STATEMENT OF THE FACTS

       4.      Walmart admits that Plaintiff was involved in an incident at Walmart store No.

0866 on or about March 28, 2021. Walmart denies the remaining allegations of this paragraph

and demands strict proof thereof.

       5.      Walmart denies the allegations of this paragraph and demands strict proof thereof.

       6.      Walmart denies the allegations of this paragraph and demands strict proof thereof.

       7.      Walmart denies the allegations of this paragraph and demands strict proof thereof.

       8.      Walmart denies the allegations of this paragraph and demands strict proof thereof.

       9.      Walmart denies the allegations of this paragraph and demands strict proof thereof.

       10.     Walmart does not have sufficient information to either admit or deny the

allegations of this paragraph and therefore denies the same and demands strict proof thereof.

       11.     Walmart does not have sufficient information to either admit or deny the

allegations of this paragraph and therefore denies the same and demands strict proof thereof.

                                           COUNT 1
                                         NEGLIGENCE

       12.     Walmart realleges the prior paragraphs as if fully stated herein.

       13.     Walmart denies the allegations of this paragraph and demands strict proof thereof.

       14.     Walmart denies the allegations of this paragraph and demands strict proof thereof.

       15.     Walmart denies the allegations of this paragraph and demands strict proof thereof.

       16.     Walmart denies the allegations of this paragraph and demands strict proof thereof.

       17.     Walmart denies the allegations of this paragraph and demands strict proof thereof.

       18.     Walmart denies the allegations of this paragraph and demands strict proof thereof.

       19.     Walmart denies the allegations of this paragraph and demands strict proof thereof.

       20.     Walmart denies the allegations of this paragraph and demands strict proof thereof.
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       21.    Walmart denies the allegations of this paragraph and demands strict proof thereof.

       22.    Walmart denies the allegations of this paragraph and demands strict proof thereof.

       23.    Walmart denies the allegations of this paragraph and demands strict proof thereof.

       Walmart denies the unnumbered paragraph following paragraph 23 of Plaintiff’s

Complaint and demands strict proof thereof.


                                          COUNT II
                                         WANTONNES

       24.    Walmart realleges the prior paragraphs as if fully stated herein.

       25.    Walmart denies the allegations of this paragraph and demands strict proof thereof.

       26.    Walmart denies the allegations of this paragraph and demands strict proof thereof.

       27.    Walmart denies the allegations of this paragraph and demands strict proof thereof.

       28.    Walmart denies the allegations of this paragraph and demands strict proof thereof.

       29.    Walmart denies the allegations of this paragraph and demands strict proof thereof.

       30.    Walmart denies the allegations of this paragraph and demands strict proof thereof.

       31.    Walmart denies the allegations of this paragraph and demands strict proof thereof.

       32.    Walmart denies the allegations of this paragraph and demands strict proof thereof.

       33.    Walmart denies the allegations of this paragraph and demands strict proof thereof.

       34.    Walmart denies the allegations of this paragraph and demands strict proof thereof.

       35.    Walmart denies the allegations of this paragraph and demands strict proof thereof.

       Walmart denies the unnumbered paragraph following paragraph 35 of Plaintiff’s

Complaint and demands strict proof thereof.


                                           COUNT III

       Walmart realleges the prior paragraphs as if fully stated herein.
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        Walmart denies the allegations of the two unnumbered paragraphs under the heading

“Count III” and demands strict proof thereof.

                                 AFFIRMATIVE DEFENSES

        1.     Plaintiff’s Complaint fails to state a claim upon which relief may be granted

against this defendant.

        2.     Plaintiff’s claims are barred by insufficiency of service and/or insufficiency of

process.

        3.     Walmart denies each and every material allegation of Plaintiff’s Complaint not

heretofore admitted and demands strict proof thereof.

        4.     The Plaintiff was guilty of negligence that contributed to cause the injuries about

which he complains, and therefore under Alabama law is not entitled to recover any damages.

        5.     The alleged hazard about which Plaintiff complains was open and obvious

thereby obviating a duty to warn and precluding Plaintiff from recovering damages under

Alabama law.

        6.     Walmart did not have notice of the alleged hazard about which Plaintiff

complains, and therefore, under Alabama law Walmart owed Plaintiff no duty to eliminate the

alleged hazard.

        7.     No act or omission of this defendant was the proximate cause of any injury to

Plaintiff.

        8.     Walmart owed Plaintiff no duty as alleged.

        9.     Plaintiff’s claims are barred, in whole or in part, because she failed to undertake

the precautions that a reasonably prudent person would take to protect against dangers which a

reasonably careful person would reasonably appreciate under the same or similar circumstances.
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       10.     Plaintiff’s claims are barred due to her contributory negligence.

       11.     Plaintiff assumed the risk associated with her actions and therefore her claims

against this Defendant fail.

       12.     Plaintiff assumed the risk of conditions present and the dangers inherent therein.

       13.     Plaintiff’s claims are precluded by the applicable statute of limitations.

       14.     Plaintiff’s injuries and damages were the result of an intervening and/or

superseding cause; therefore, Plaintiff should not recover from Walmart.

       15.     Walmart had no knowledge of the alleged defect or condition Plaintiff alleges to

have been the cause of his injury; therefore, Plaintiff should not recover from Walmart.

       16.     Plaintiff, in whole or in part, failed to mitigate her alleged damages, and therefore

is precluded from recovery.

       17.     Walmart respectfully demands credit for any and all monies paid to, or on behalf

of, Plaintiff from any and all collateral sources.

       18.     Walmart is entitled to the applicable Alabama statutory damages caps.

       19.     Walmart reserves the right to add and/or supplement its affirmative defenses as

discovery in this matter has not yet begun.


DEFENDANTS DEMAND TRIAL BY STRUCK JURY



                                               /s/ Chad C. Marchand
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                                CERTIFICATE OF SERVICE

        I hereby certify that I have served a copy of the foregoing document by electronically
filing same with the E-File court system upon undersigned counsel on this the 3rd day of June,
2022.



N. Trey Canida
Morgan & Morgan, PLLC
63 South Royal St., Ste 710
Mobile, AL 36602




                                           /s/ Chad C. Marchand
                                           OF COUNSEL
